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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

SECURITIES AND EXCHANGE

COMMISSION,

Civil Action No. 1:23-cv-01599-ABJ
Plaintiff,

V.

BINANCE HOLDINGS LIMITED, et al.,

Defendants.

DECLARATION OF DANIEL J. DAVIS
IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

I, Daniel J. Davis, hereby declare and state as follows:

lL; I submit this declaration in support of the motion of Robert T. Smith for my
admission to practice pro hac vice in the above captioned matter.

2: My full name is Daniel J. Davis. I am an attorney of the law firm Katten Muchin
Rosenman LLP, 1919 Pennsylvania Ave., N.W., Suite 800. Washington, DC. My telephone
number is (202) 625-3644.

3. I am a member in good standing of the District of Columbia and Virginia bars.

4. I have never been disciplined by any bar and there are no pending disciplinary
proceedings against me in any bar. I am not currently disbarred in any court, and | have not
been denied admission to the courts of any state or any court of the United States.

5: I have been admitted pro hac vice in this Court zero times within the last two
years.

6. 1 am a member of the District of Columbia bar (Bar No. 484717), and I engage

in the practice of law from an office located in the District of Columbia.

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Ts I was previously admitted to the bar of the U.S. District Court for the District of
Columbia and intend to apply for admission to the bar of the U.S. District Court for the District

of Columbia in the near future. | am seeking pro hac vice admission so that I may appear in

these proceedings in the interim.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 8th day of December, 2023 in McLean, Virginia.

Respectfully submitted,

Daniel J. Ue oe ae

